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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


  STATE OF NEBRASKA,
  STATE OF MISSOURI,
  STATE OF ARKANSAS,
  STATE OF IOWA,
  STATE OF KANSAS, and
  STATE OF SOUTH CAROLINA,

        Plaintiffs,

  v.                                                     No.

  JOSEPH R. BIDEN, JR.,
  in his official capacity as the President of the
  United States of America;

  MIGUEL CARDONA, in his official capacity
  as Secretary, United States Department of
  Education; and

  UNITED STATES DEPARTMENT OF
  EDUCATION,

        Defendants.


                                            COMPLAINT

       1.      The economy is not well. Per the last report from the Bureau of Labor Statistics,

inflation has eroded the livelihood of the working class, with real average hourly earnings (i.e., the

purchasing power of those wages) down 3.4 percent from last year. Real Earning Summary, U.S.

Bureau of Labor Statistics (Sept. 13, 2022), https://tinyurl.com/bddwnj6d. Drilling into the numbers

illustrates how bad it is. From August 2021 to August 2022—the latest numbers available—the

cost of food has gone up 11.4 percent, with the price of groceries increasing 13.5 percent.

Consumer Price Index Summary, U.S. Bureau of Labor Statistics (Sept. 13, 2022),


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https://tinyurl.com/yxcdu3dd. Likewise, gas is up 25.6 percent, and electricity is up 15.8 percent.

Id.

         2.    And there is no sign of relief. On September 21, 2022, the Federal Reserve Board

and Bank presidents projected that the unemployment rate would increase over the next year. See

Summary of Economic Projections, Federal Reserve Bank, at 2 tlb.1 (Sept. 21, 2022),

https://tinyurl.com/ycxkvn52. And inflation, the Federal Reserve projects, is likely to be above 5

percent for this year while the economy struggles along with barely a pulse. See id. (looking at

PCE inflation and projected real GDP growth of 0.2 percent).

         3.    The burden of the economic loss and price increases will hit those who can least

afford it—the working class and the poor. See, e.g., Jack Kelly, Inflation Will Wreak Havoc on

the Working Class, Forbes (July 24, 2022), https://tinyurl.com/y83v6xwu. The well-off, however,

can handle the hardship. For example, “Jordan Trevino, 28, who recently took a better paying job

in advertising in Los Angeles with a $100,000 salary, is economizing in little ways—ordering a

cheaper entree when out to dinner, for example. But he is still planning a wedding next year and

a honeymoon in Italy.” Jeanna Smialek & Ben Casselman, In an Unequal Economy, the Poor

Face Inflation Now and Job Loss Later, N.Y. Times (Aug. 11, 2022), https://tinyurl.com/yhfp9tdy.

         4.    In the face of out-of-control inflation, job loss, and recession, the Biden

Administration’s response is to give Mr. Trevino, and those like him, up to $20,000.

         5.    The Administration will do that by cancelling $10,000 to $20,000 of student loan

debt for individuals who make less than $125,000 annually, or $250,000 annually for a married

person filing jointly. The Administration announced this Mass Debt Cancellation on August 24,

2022.

         6.    The majority of the Mass Debt Cancellation will “accrue[ ] to the debt borrowers in

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the top 60 percent of the income distribution.” Forgiving Student Loans: Budgetary Costs and

Distributional Impact, Penn Wharton University of Pennsylvania (Aug. 23, 2022),

https://tinyurl.com/vpwkes2n. And none of the benefit will accrue to those who worked and paid

their debt.

        7.     In addition to being economically unwise and downright unfair, the Biden

Administration’s Mass Debt Cancellation is yet another example in a long line of unlawful

regulatory actions.    No statute permits President Biden to unilaterally relieve millions of

individuals from their obligation to pay loans they voluntarily assumed.       Just months ago, the

Supreme Court warned federal agencies against “asserting highly consequential power beyond

what Congress could reasonably be understood to have granted” by statute. West Virginia v. EPA,

142 S. Ct. 2587, 2609 (2022). Yet the Administration’s Mass Debt Cancellation does precisely

that.   Determined to pursue across-the-board debt cancellation and stymied by repeated failures

to achieve that goal through legislation, the Administration resorted to a federal law whose purpose

is to provide relief to individuals who have suffered from an emergency like the 9/11 terrorist

attacks or who must serve their country overseas in the military.

        8.     That law—known as the Higher Education Relief Opportunities for Students Act

of 2003 (HEROES Act)—had previously been used by the Department of Education (ED) to relieve

active-duty personnel from nettlesome bureaucratic constraints by waiving various administrative

requirements such as grace periods and documentation requirements that might complicate service

in active operations. It is inconceivable, when it passed the HEROES Act, that Congress thought

it was authorizing anything like the Administration’s across-the-board debt cancellation, which

will result in around half a trillion dollars or more in losses to the federal treasury. See The Biden

Student Loan Forgiveness Plan: Budgetary Costs and Distributional Impact, Penn Wharton


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University of Pennsylvania (Aug. 26, 2022), https://tinyurl.com/4y9rz8w5 [Penn Report].

       9.      In fact, until now, no one thought that such a power lurked within the HEROES

Act, or any other existing federal law. House Speaker Nancy Pelosi declared categorically:

“People think that the President of the United States has the power for debt forgiveness. He does

not. … That has to be an act of Congress. … The President can’t do it. So that’s not even a

discussion.” Lauren Camera, Pelosi: Biden Lacks Authority to Cancel Student Debt, U.S. News

& World Report (July 28, 2021), https://tinyurl.com/33ex63de. And ED previously concluded that

the HEROES Act is not a hidden source of authority to cancel student debt. See Memorandum

from Reed Rubinstein, Principal Deputy General Counsel, Department of Education, to Betsy

DeVos, Secretary of Education 6 (Jan. 12, 2021), https://tinyurl.com/3kp29ys6 [2021 DeVos

Memo].

       10.     Speaker Pelosi and the 2021 DeVos Memo are right. The HEROES Act allows the

Secretary of Education “to waive or modify any statutory or regulatory provision applicable to”

certain student financial assistance programs “in connection with a war or other military operation

or national emergency” to protect those negatively affected by the operation or emergency. Pub.

L. No. 108-76, 117 Stat. 904 (codified at 20 U.S.C. § 1098bb(a)(1)). It is not an across-the-board

get-out-of-debt provision that an administration can invoke at will.

       11.     Even if the HEROES Act could permit some discharge of student loan debt, the

Administration itself recognized in an Office of Legal Counsel (OLC) opinion that any waiver or

modification under the Act must be (1) “structured to put loan recipients back into the financial

position they would be in were it not for the national emergency” and (2) limited only to the harm

that has a relation to the borrower’s federal loans, “no matter how much financial harm a borrower

may have suffered because of a national emergency.” OLC August 23, 2022 Memorandum


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Opinion at 21, https://tinyurl.com/2s3k238w [2022 OLC Memo]. The Biden Administration’s

Mass Debt Cancellation does not even attempt to meet these requirements. It instead justifies relief

for all borrowers whose debt the Administration holds based on talismanic reference to the

COVID-19 pandemic. It makes no difference to the Administration’s cancellation whether the

pandemic rendered a borrower better or worse off or how much financial harm the borrower

suffered in relation to her loans. Thus, the Mass Debt Cancellation is not remotely tailored to

address the effects of the pandemic on federal student loan borrowers, as required by the HEROES

Act. The Mass Debt Cancellation instead disregards the Act’s objectives and express requirements

and distorts the Act beyond recognition in the service of the Administration’s political agenda on

student loans. It is the epitome of unlawful and arbitrary agency action, and it should be set aside.

                                           THE PARTIES

       12.     Plaintiff State of Nebraska is a sovereign State of the United States of America.

Nebraska sues to vindicate its sovereign, quasi-sovereign, financial, and proprietary interests.

       13.     Douglas J. Peterson is the Attorney General of Nebraska. Attorney General

Peterson is authorized to bring legal actions on behalf of the State of Nebraska and its citizens.

       14.     Plaintiff State of Missouri is a sovereign State of the United States of America.

Missouri sues to vindicate its sovereign, quasi-sovereign, financial, and proprietary interests.

       15.     Eric S. Schmitt is the 43rd Attorney General of the State of Missouri. Attorney

General Schmitt is authorized to bring actions on behalf of Missouri that are “necessary to protect

the rights and interests of the state, and enforce any and all rights, interests, or claims any and all

persons, firms or corporations in whatever court or jurisdiction such action may be necessary.”

Mo. Rev. Stat. § 27.060.

       16.     Plaintiff State of Arkansas is a sovereign State of the United States of America.



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Arkansas sues to vindicate its sovereign, quasi-sovereign, financial, and proprietary interests.

        17.     Leslie Rutledge is the Attorney General of Arkansas.           General Rutledge is

authorized to “maintain and defend the interests of the state in matters before the United States

Supreme Court and all other federal courts.” Ark. Code Ann. 25-16-703.

        18.     Plaintiff State of Iowa is a sovereign State of the United States of America. Iowa

sues to vindicate its sovereign, quasi-sovereign, financial, and proprietary interests.

        19.     The Attorney General of Iowa of Iowa is authorized and required to prosecute legal

actions on behalf of the State of Iowa and its citizens when requested to do so by the Governor.

See Iowa Code § 13.2(1)(b).

        20.     Plaintiff State of Kansas is a sovereign State of the United States of

America. Kansas sues to vindicate its sovereign, quasi-sovereign, proprietary, and parens patriae

interests.

        21.     Derek Schmidt is the Attorney General of Kansas. Attorney General Schmidt is

authorized to bring legal actions on behalf of the State of Kansas and its citizens.

        22.     Plaintiff State of South Carolina is a sovereign State of the United States of

America. South Carolina sues to vindicate its sovereign, quasi-sovereign, financial, and pro-

prietary interests.

        23.     Alan Wilson is the Attorney General of South Carolina. Attorney General Wilson

is authorized to bring legal actions on behalf of the State of South Carolina and its citizens.

        24.     Defendants are officials of the United States government and United States

governmental agencies responsible for implementing the Mass Debt Cancellation.

        25.     Defendant Joseph R. Biden, Jr. is the President of the United States of America.

He is sued in his official capacity.



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       26.     Defendant Miguel Cardona is the Secretary of Education. He is sued in his official

capacity.

       27.     Defendant United States Department of Education (ED) is an agency of the United

States government, located at 400 Maryland Avenue, S.W., Washington, D.C. 20202.

                                 JURISDICTION AND VENUE

       28.     This Court has jurisdiction pursuant to 5 U.S.C. §§ 702-703 and 28 U.S.C. §§ 1331,

1361, and 2201.

       29.     This Court is authorized to award the requested declaratory and injunctive relief

under 5 U.S.C. §§ 702 and 706, 28 U.S.C. §§ 1361 and 2201-2202, and its inherent equitable

powers.

       30.     Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b)(2) and 1391(e).

Defendants are United States agencies or officers sued in their official capacities. Plaintiff State

of Missouri is a resident of this judicial district, and a substantial part of the events or omissions

giving rise to the Complaint occur within this district.

       31.     The Plaintiff States bring this action to redress harms to their sovereign, quasi-

sovereign, financial, and proprietary interests, including their interests under 5 U.S.C. § 702 and

41 U.S.C. § 1707.

                                  FACTUAL ALLEGATIONS
             The Decade-Long Political Push For Student-Loan Debt Cancellation

       32.     In September 2011, the Occupy Wall Street movement began.                 Out of that

movement grew the Occupy Student Debt Campaign, which encouraged borrowers to default on

student-loan payments as a form of protest.           Amanda M. Fairbanks, Occupy Student Debt

Campaign Announces Nationwide Loan Refusal Pledge, Huffington Post (Nov. 11, 2011),

https://tinyurl.com/sm9upf56. In November 2015, inspired by statements made by Senator Bernie

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Sanders, students at over one hundred college campuses staged a walk-out to protest the cost of

college in the “Million Student March.” Danielle Douglas-Gabriel, Million Student March Fights

for Debt-Free College, Wash. Post (Nov. 12, 2015), https://tinyurl.com/bdutx2ns. The students

“demand[ed] … the cancellation of all student debt.” Id. The next year, ED established a pathway

to cancel loans for students defrauded by for-profit colleges. Anya Kamenetz & Kirk Carapezza,

A Path ‘To Debt Relief’ For Defrauded Corinthian Students, NPR (Mar. 25, 2016),

https://tinyurl.com/2p8y9ycf.

       33.     In 2018, one commentator predicted that “come 2020, at least one major

Democratic candidate for president is going to campaign on outright canceling a boatload of

student debt” because “student debt forgiveness is really, really popular among Democrats.”

Jordan Weissmann, Student Debt Forgiveness Is Really, Really Popular Among Democrats, Slate

(Nov. 18, 2018), https://tinyurl.com/yyvss2ba (capitalization altered). In April 2019, Senator

Elizabeth Warren announced a proposal for student-debt cancellation, stating that her “plan for

broad student debt cancellation” would “[c]ancel debt for more than 95% of the nearly 45 million

Americans with student loan debt” and “[w]ipe out student loan debt entirely for more than 75%

of the Americans with that debt.”       Elizabeth Warren, I’m Calling For Something Truly

Transformational: Universal Free Public College And Cancellation Of Student Loan Debt,

Medium (Apr. 22, 2019), https://tinyurl.com/mrxy3arr.

       34.     In June 2019, Senator Sanders announced his own proposal to “[c]ancel all student

loan debt for the [approximately] 45 million Americans who owe about $1.6 trillion and place a cap

on student loan interest rates going forward at 1.88 percent.” Bernie Sanders, College for All and

Cancel All Student Debt, https://tinyurl.com/yu8r4avy (last visited Sept. 28, 2022).

       35.     In April 2020, then-candidate Biden announced a proposal to “forgive all



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undergraduate tuition-related federal student debt from two- and four-year public colleges and

universities for debt-holders earning up to $125,000, with appropriate phase-outs to avoid a cliff.”

Joe Biden, Joe Biden Outlines New Steps to Ease Economic Burden on Working People, Medium

(Apr. 9, 2020), https://tinyurl.com/3cbw4zh2 [Biden Medium Article]. He did not suggest that

his proposal had anything to do with the COVID-19 pandemic, which was well underway by April

2020.

                      Background of Relevant Student Loan Programs

        36.    The Higher Education Act (HEA) establishes several student-loan programs. The

two that are the most relevant to this lawsuit are the Direct Loan Program (DLP) and Federal

Family Education Loan Program (FFELP). 20 U.S.C. §§ 1071 et seq., 1087a et seq.

        37.    The origination of new FFELP loans stopped on July 1, 2010. But many FFELP

loans still exist and are subject to ongoing repayment.

        38.    There are entities, some of which are state instrumentalities, that service FFELP

loans and generate revenue from that servicing work. There are also entities, some of which are

state instrumentalities, that hold FFELP loans and earn income from the interest payments on those

loans. And there are investors, some of which are state agencies, that invest in student-loan asset-

backed securities (SLABS) secured by FFELP loans. SLABS are FFELP loans bundled, rated,

and sold in tranches to institutional investors as bonds.

        39.    All student loans originating under the HEA beginning on July 1, 2010, have been,

and in the future will be, originated under the DLP.

        40.    There are entities, some of which are state instrumentalities, that service DLP loans

and generate revenue from that servicing work.

        41.    Student-loan borrowers may consolidate FFELP loans into DLP loans. See 34



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C.F.R. § 685.220 (providing the criteria for consolidation). Such a direct consolidation loan comes

“at no cost” to the borrower. Direct Consolidation Loan Application, Federal Student Aid,

https://tinyurl.com/bdfhxser (last visited Sept. 28, 2022).

       42.     The HEA and its implementing federal regulations provide a comprehensive legal

framework governing federal student loan assistance and borrowers’ obligations to repay their loans,

including how and when certain loan statuses qualify for income-driven repayment (IDR) and

Public Service Loan Forgiveness (PSLF).

       43.     The HEA sets forth the “[t]erms and conditions” of DLP loans, including the

“[r]epayment plan for public service employees” and “income-based repayment plan.” 20 U.S.C.

§ 1087e.

       44.     Federal regulation also specifies the conditions under which “[a] borrower may

obtain loan forgiveness under [the FFELP] program,” 34 C.F.R. § 685.219(c), and under which a

borrower “qualif[ies] for loan forgiveness” under the IDR program, id. § 685.221(f).

       45.     While the HEA includes a variety of provisions allowing the Secretary to

promulgate regulations for income-driven repayment and other repayment programs, no provision

of the HEA authorizes the Secretary to implement a mass cancellation of student-loan debt.

 ED’s, The Biden Administration’s, And Speaker Pelosi’s Recognition That Student-Debt
               Cancellation Via Unilateral Executive Action Is Unlawful

       46.     On January 12, 2021, ED published a memorandum concluding that mass student-

loan debt cancellation could not be accomplished through executive action. See 2021 DeVos

Memo, supra, at 4, 6. ED noted that it “has never relied on the HEROES Act or any other statutory,

regulatory, or interpretative authority for the blanket or mass cancellation … of student loan

principal balances, and/or the material change of repayment amounts or terms.” Id. at 6.

       47.     In July 2021, Speaker Pelosi stated at a press conference: “People think that the

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President of the United States has the power for debt forgiveness. He does not. He can postpone.

He can delay. But he does not have that power. That has to be an act of Congress. … The President

can’t do it. So that’s not even a discussion.” Camera, supra.

          48.   Though President (then-candidate) Biden expressed support for cancelling federal

student-loan debt in April 2020, see Biden Medium Article, supra, it appears that he eventually

came to agree with Speaker Pelosi. When asked about student-loan cancellation in November

2020, President-elect Biden responded by citing proposed legislation that would cancel student

debt rather than discussing executive action. Adam Looney, Biden Shouldn’t Listen to Schumer

and Warren on Student Debt, Brookings (Nov. 18, 2020), https://tinyurl.com/bdew8ufr. In

October 2021, White House Press Secretary Jen Psaki reiterated that “[i]f Congress wanted to pass

and send the president a bill to cancel $10,000 in student debt, he’d happily sign it.” Zack

Friedman, Biden Ready To Sign Student Loan Forgiveness, But Congress Hasn’t Passed Any

Legislation, Forbes (Oct. 5, 2021), https://tinyurl.com/bdfxkyfp. These comments indicate that

President Biden thought mass student loan cancellation must come through Congress.

            The Failure of Proposed Legislation to Enact Student-Debt Cancellation

          49.   Despite the Biden Administration’s invitation, attempts to enact legislation

cancelling student-loan debt have repeatedly failed.

          50.   In July 2019, Senator Warren introduced the Student Loan Debt Relief Act of 2019,

a bill that would have automatically canceled $50,000 of student loan debt for those who make

under $100,000. The bill failed. See Student Loan Debt Relief Act of 2019, S. 2235, 116th Cong.

(2019).

          51.   In March 2021, Representative Al Lawson introduced the Income-Driven Student

Loan Forgiveness Act, which would have cancelled the outstanding balance on loans for all



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borrowers under a certain income cap. See Income-Driven Student Loan Forgiveness Act, H.R.

2034, 117th Cong. (2021). The bill failed.

          52.         In February 2021, Senators Warren and Chuck Schumer and Representatives Alma

Adams, Ilhan Omar, and Mondaire Jones introduced a resolution asserting that the Biden

Administration has statutory power to cancel student debt immediately. Elizabeth Warren, Warren,

Schumer, Pressley, Colleagues: President Biden Can and Should Use Executive Action to Cancel

up   to     $50,000        in   Federal   Student   Loan    Debt   Immediately    (Feb.    4,   2021),

https://tinyurl.com/8wpkedd9.

                             ED’s Multiple Efforts To Prevent COVID-19
                        From Placing Borrowers In A Worse Position Financially

          53.         On March 20, 2020, in light of the COVID-19 pandemic, ED waived student-loan

interest for three months and gave borrowers the option to suspend principal payments for two

months for federally held student loan debt. Delivering on President Trump’s Promise, Secretary

DeVos Suspends Federal Student Loan Payments, Waives Interest During National Emergency,

U.S. Department of Education (Mar. 20, 2020), https://tinyurl.com/yc3yxs4y. Secretary Betsy

DeVos stated that “[r]ight now, everyone should be focused on staying safe and healthy, not

worrying about their student loan balance growing.” Id.

          54.         On March 27, 2020, President Trump signed the Coronavirus Aid, Relief, and

Economic Security (CARES) Act, which extended the student-loan pause through September 30,

2020.           See     CARES    Act   Student   Loan    Fact   Sheet,   NCSL    (Mar.    30,   2020),

https://tinyurl.com/yprmp39d. The Trump and Biden Administrations then repeatedly extended

the student-loan pause, which is currently scheduled to conclude on December 31, 2022. See, e.g.,

Donald J. Trump, Memorandum on Continued Student Loan Payment Relief During the COVID-

19 Pandemic (Aug. 8, 2020), https://tinyurl.com/2p8sjrs4. President Trump stated that the pause

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“has helped many students and parents retain financial stability.” Id.

       55.       In October 2021, ED announced “transformational changes” to the PSLF program.

Department of Education Announces Transformational Changes to the Public Service Loan

Forgiveness Program, Will Put Over 550,000 Public Service Workers Closer to Loan Forgiveness,

U.S. Department of Education (Oct. 6, 2021), https://tinyurl.com/63y4x2ux; PSLF Waiver Offers

Way to Get Closer to Loan Forgiveness, FEDERAL STUDENT AID, https://tinyurl.com/

38tbtxcm (last visited Sept. 28, 2022) [October 2021 PSLF Announcement]. ED later stated that

this “[r]evamping” of the PSLF program resulted in loan relief for approximately 100,000

borrowers. Biden-Harris Administration Extends Student Loan Pause Through August 31, U.S.

Department of Education (Apr. 6, 2022), https://tinyurl.com/mr4b7udf [ED April 6 Press Release].

ED acknowledged that it “change[d]” the “[n]ormal … [r]equirements” and invoked purported

“flexibilities provided by the HEROES Act” to justify this departure from the HEA’s framework.

October 2021 PSLF Announcement, supra.

       56.       In April 2022, ED announced additional actions to provide loan cancellation to

borrowers through the PSLF program and IDR plans, which it estimated would result in debt

cancellation for more than 40,000 borrowers and credit toward IDR cancellation for millions more.

Department of Education Announces Actions to Fix Longstanding Failures in the Student Loan

Programs, U.S. Department of Education (Apr. 19, 2022), https://tinyurl.com/pju4nmxf [April

2022 Press Release]. On information and belief, because of those changes, service providers

already have seen a dramatic increase in applications and inquiries for DLP consolidations in

recent months.

             The Administration’s Pretextual Reliance On The Fading Pandemic
                             to Justify Mass Debt Cancellation

       57.       In April 2022, the Biden Administration terminated an earlier order that had

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suspended the introduction of migrants into the United States based on concerns related to the

COVID-19 pandemic. CDC Public Health Determination and Termination of Title 42 Order,

Centers for Disease Control and Prevention (Apr. 1, 2022), https://tinyurl.com/23cp257r. “After

considering current public health conditions and an increased availability of tools to fight COVID-

19,” the Administration wrote, it had determined that the limitation on migration was “no longer

necessary.” Id. The Administration cited “the current public health landscape where 97.1% of the

U.S. population lives in a county identified as having ‘low’ COVID- 19 Community Level.” Id.

The Administration asserted in court that “after peaking on January 15, 2022, COVID-19 case

numbers in the United States fell by 95% as of March 28, 2022,” and “[d]eath and hospitalization

rates also underwent a ‘swift descent.’ ” Mem. Opp’n Pls’ Mot. Prelim Inj. at 8, Arizona v. CDC,

No. 6:22-cv-00885 (W.D. La. Apr. 29, 2022), ECF No. 40. In short, the Administration observed,

“the pandemic ‘ha[d] shifted to a new phase.’” Id.

       58.     More recently, in a September 18, 2022 interview with 60 Minutes, President Biden

was more definitive about the state of the pandemic, declaring that “[t]he pandemic is over.” 60

Minutes (@60Minutes), Twitter (Sept. 18, 2022), https://tinyurl.com/2s35maau.

       59.     In between those two events declaring the COVID pandemic over—that is, in

August 2022—ED invoked the pandemic to justify its Mass Debt Cancellation.

       60.     On August 24, 2022, the Administration announced that it will cancel $10,000 to

$20,000 in student debt for all borrowers who have loans owned by ED and whose annual income

during the pandemic was less than $125,000 (or $250,000 for married borrowers who file jointly).

FACT SHEET: President Biden Announces Student Loan Relief for Borrowers Who Need It Most,

The White House (Aug. 24, 2022), https://tinyurl.com/2p8zmh2b. Borrowers who received a Pell

Grant are eligible for $20,000 in loan cancellation, and borrowers who did not receive a Pell Grant



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are eligible for $10,000 in cancellation. Id.

       61.     The Administration estimates that “over 40 million borrowers are eligible” for the

Mass Debt Cancellation. FACT SHEET: The Biden-Harris Administration’s Plan for Student Debt

Relief Could Benefit Tens of Millions of Borrowers in All Fifty States, The White House (Sept. 20,

2022), https://tinyurl.com/ekrbnvn4.

       62.     DLP loans qualify for loan cancellation. One-Time Student Loan Debt Relief,

FEDERAL STUDENT AID, https://tinyurl.com/yc7bban8 (last visited Sept. 28, 2022) [Cancellation

Program Webpage]. So do FFELP “loans held by ED.” Id.

       63.     In addition, FFELP borrowers who consolidate their privately held loans into DLP

loans are also eligible for loan cancellation. Cancellation Program Webpage, supra. In fact, the

Department is explicitly instructing “borrowers with privately held federal student loans”

including FFELP loans that they “can receive this relief [cancellation] by consolidating these loans

into the Direct Loan program [DLP].” Id.

       64.     ED has announced that many DLP borrowers—an estimated eight million of

them—will receive cancellation “automatically because relevant income data is already available”

to ED. The Biden-Harris Administration’s Student Debt Relief Plan Explained, Federal Student

Aid, https://tinyurl.com/msj29rdx (last visited Sept. 28, 2022) [Cancellation FAQs] (“[T]here are

8 million people for whom we have data and who will get the relief automatically.”). For

borrowers whose income data is not available to ED, the Administration will release a loan

cancellation application in early October. Id.

       65.     Under the Mass Debt Cancellation, eligible borrowers who made payments on their

debt during the pandemic will automatically have those payments refunded to them. Cancellation

Program Webpage, supra (“You will automatically receive a refund of your payments during the



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payment pause if: you successfully apply for and receive debt relief under the Administration’s

debt relief plan, AND your voluntary payments during the payment pause brought your balance

below the maximum debt relief amount you’re eligible to receive but did not pay off your loan in

full.”). ED has advised its loan servicers that borrowers do not have to state that their refund

request is specifically due to COVID-19. The number of refunds requested and processed since

ED announced the Mass Debt Cancellation has risen precipitously.

       66.     The Wharton School of the University of Pennsylvania released a study concluding

that ED’s Mass Debt Cancellation alone will cost up to $519 billion over ten years, and the overall

cost could rise to more than $1 trillion when factoring in the other components of ED’s

announcement. See Penn Report, supra.

       67.     In a legal memorandum accompanying the Mass Debt Cancellation, ED revoked

its previous legal analysis of the issue and asserted that the HEROES Act allows it to effectuate a

program of “loan cancellation directed at addressing the financial harms of the COVID-19

pandemic.” Notice of Debt Cancellation Legal Memorandum, 87 Fed. Reg. 52,943, 52,944 (Aug.

30, 2022). ED further claimed that it is “not required to … show that any individual borrower is

entitled to a specific amount of relief” and “instead may provide relief on a categorical basis.” Id.

       68.     The HEROES Act provides that ED, acting through the Secretary, may “waive or

modify any statutory or regulatory provision applicable to [certain] student financial assistance

programs” when “necessary in connection with a war or other military operation or national

emergency.” 20 U.S.C. § 1098bb(a)(1). The Act further specifies, as relevant here, that this

waiver or modification must be “necessary to ensure that” one of certain statutory objectives is

achieved, including to ensure that “recipients of student financial assistance … who are affected

individuals are not placed in a worse position financially in relation to that financial assistance



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because of their status as affected individuals.” § 1098bb(a)(2)(A). The Act defines “affected

individuals” as including people who (1) “reside[] or [are] employed in an area that is declared a

disaster area by any Federal, State, or local official in connection with a national emergency” or

(2) “suffered direct economic hardship as a direct result of a war or other military operation or

national emergency, as determined by the Secretary.” § 1098ee(2)(C)–(D).

       69.     The HEROES Act, which was passed during the Iraq War and military operations

in Afghanistan, codifies its purpose in its preamble: “To provide the Secretary of Education with

specific waiver authority to respond to a war or other military operation or national emergency.”

Pub. L. No. 108-76, 117 Stat. 904 (emphasis added). Its purpose is further reflected in its

“Findings” section:

         The Congress finds the following:

         (1) There is no more important cause than that of our nation’s defense.
         (2) The United States will protect the freedom and secure the safety of its citizens.
         (3) The United States military is the finest in the world and its personnel are
         determined to lead the world in pursuit of peace.
         (4) Hundreds of thousands of Army, Air Force, Marine Corps, Navy, and Coast
         Guard reservists and members of the National Guard have been called to active
         duty or active service.
         (5) The men and women of the United States military put their lives on hold,
         leave their families, jobs, and postsecondary education in order to serve their
         country and do so with distinction.
         (6) There is no more important cause for this Congress than to support the
         members of the United States military and provide assistance with their
         transition into and out of active duty and active service.

20 U.S.C. § 1098aa(b). The sole focus of these findings is ensuring relief for “members of the

United States military.”

       70.     The day of the White House announcement, OLC released a memo asserting that

the HEROES Act grants the Secretary authority to “reduce or eliminate the obligation to repay the



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principal balance of federal student loan debt, including on a class-wide basis in response to the

COVID-19 pandemic.” 2022 OLC Memo, supra, at 1.

        71.    OLC observed that, under the Act, a waiver or modification “would be permissible

only as may be necessary to ensure the individuals are not placed in a ‘worse position

financially . . . because of’” their status as affected individuals. 2022 OLC Memo, supra, at 20

(citing 20 U.S.C. § 1098bb(a)(2)(A)). According to OLC, this requires ED to “determine that the

COVID-19 pandemic was a but-for cause of the financial harm” to be addressed by any mass debt

cancellation. Id. at 21.

        72.    On information and belief, the Biden Administration has not made a determination

that the pandemic was a but-for cause of any financial harm addressed by the Mass Debt Can-

cellation.

        73.    OLC also considered the Act’s requirement that any waiver and modification “be

necessary” to “ensure” that affected individuals “are not placed in a worse position financially in

relation to that financial assistance because of their status as affected individuals.” 20 U.S.C. §

1098bb(a)(2) (emphasis added).      OLC read this requirement to mean that any waiver or

modification should “put loan recipients back into the financial position” they would have held in

relation to their loans “were it not for the national emergency.” 2022 OLC Memo, supra, at 21.

        74.    On information and belief, the Biden Administration has not made a determination

that the Mass Debt Cancellation will put borrowers back in the financial position they would have

been in if not for the COVID-19 pandemic.

        75.    Having defined the Act’s criteria for waiver or modification, OLC analyzed

whether “within these parameters” ED is authorized to implement mass debt cancellation. 2022

OLC Memo, supra, at 21. OLC concluded that ED need not proceed “case-by-case” under the Act



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and is allowed to “minimize ‘administrative requirements.’” Id. at 23. But OLC did not reach a

firm conclusion about the legality of mass debt cancellation, stating only that affording “broad,

categorical” debt cancellation “could be an appropriate invocation of the Act.” Id. at 21 (emphasis

added).

                   The White House Announces the Mass Debt Cancellation
                            Without Referencing The Pandemic

          76.   The White House’s public messaging left no doubt that the Mass Debt Cancellation

reflected policy goals that had no real connection to the pandemic. A senior administration official

explained during a press briefing after ED announced its Mass Debt Cancellation that President

Biden had “promised to provide targeted student debt relief” “[d]uring the [2020 presidential]

campaign” and was now “following through on that promise.” Background Press Call by Senior

Administration Officials on Student Loan Relief, The White House (Aug. 24, 2022),

https://tinyurl.com/9a85ehn5 [Cancellation Backgrounder].

          77.   Later in the briefing, the same official emphasized that ED’s Mass Debt Cancella-

tion is intended to “narrow the racial wealth gap,” “promot[e] equity,” allow more Americans to

obtain “a ticket to a middle-class life” through “post-high school education,” and address education

costs that have been rising “[o]ver the last 40 years.” Cancellation Backgrounder, supra. The

official did not mention the COVID-19 pandemic. Id.

          78.   These statements are in line with ED’s earlier pronouncements related to student-

debt cancellation during the pandemic. In its April 19 press release, for example, ED explained

that its actions are designed to “address[] historical failures in the administration of the federal

student loan programs,” and that its actions “will begin to remedy years of administrative failures

that effectively denied the promise of loan forgiveness to certain borrowers.” April 2022 Press

Release, supra.

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              The HEROES Act Does Not Authorize the Mass Debt Cancellation

       79.     ED’s Mass Debt Cancellation does not accord with the HEROES Act’s express

requirements for waivers or modifications.        The Act requires ED to tailor any waiver or

modification as necessary to address the actual financial harm suffered by a borrower due to the

relevant military operation or emergency.        But under ED’s Mass Debt Cancellation, every

borrower with annual income under $125,000 (or $250,000 for married borrowers filing jointly)

during the pandemic gets the same $10,000 in student-loan debt cancelled (or $20,000 if the

borrower received a Pell Grant). This relief comes to every borrower regardless of whether her

income rose or fell during the pandemic or whether she is in a better position today as to her student

loans than before the pandemic.

       80.     The disconnect between ED’s Mass Debt Cancellation and the HEROES Act is

even greater because ED has already provided substantial relief to pandemic-affected borrowers.

In March 2020, ED suspended most borrowers’ obligations to make loan payments and stopped

interest from accruing on their loans, and that waiver remains in place through the end of 2022.

As a result, most borrowers are better off today than before the pandemic with respect to their

student loans because they have paid nothing for nearly three years, no interest has accrued on their

loans, and rampant inflation has reduced the real-dollar value of their debts. Since most borrowers

during the pandemic missed no payments (because none were due), and most borrowers during

the pandemic accrued no interest (because the interest rate has been 0%), and credit reporting

bureaus during the pandemic have been reporting student loans as being on time and the underlying

loans as being current (acting to increase an individual’s credit score), there is no pandemic-caused

harm in relation to most borrowers’ student loans. See 2022 OLC Memo, supra, at 21 (ED can

“only … offset that portion of the harm that has a ‘relation to’ the borrower’s [federal] assistance”).



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       81.     In fact, 80 percent of all student-loan borrowers saw their credit scores increase

during the pandemic, with the largest increases among borrowers with delinquent loans at the

beginning of the pandemic. Daniel Mangrum, et al., Liberty Street Economics: Three Key Facts

from the Center for Microeconomic Data’s 2022 Student Loan Update, Federal Reserve Bank of

New York (Aug. 9, 2022), https://tinyurl.com/59d9j8bp.

       82.     ED’s failure to tie its Mass Debt Cancellation to the HEROES Act’s requirements

cannot be justified as a matter of administrative convenience. The OLC memo suggests that ED

can avoid individualized determinations of economic hardship to minimize “administrative

requirements.” 2022 OLC Memo, supra, at 23–24. But this observation ignores that, even under

ED’s Mass Debt Cancellation, millions of borrowers will have to submit tax information to the

Department to support their individual eligibility for cancellation. In any event, that it is easier to

give debt cancellation to everyone cannot justify ignoring the express requirements of the

HEROES Act.

       83.     Even if the HEROES Act’s text could plausibly be read to accord with ED’s Mass

Debt Cancellation (and it cannot), the major-questions doctrine precludes ED’s invocation of the

Act. ED’s invocation of the Act is a quintessential effort to discover “an unheralded power”

representing a “transformative expansion in [its] regulatory authority.” West Virginia, 142 S. Ct.

at 2610.

       84.     Until now, ED has “generally invoked the HEROES Act relatively narrowly to

grant relief to limited subsets of borrowers, such as deployed military service members or victims

of certain natural disasters.” Kevin M. Lewis & Edward C. Liu, The Biden Administration Extends

the Pause on Federal Student Loan Payments: Legal Considerations for Congress, Congressional

Research Service, at 2–3 (Jan. 27, 2021), https://tinyurl.com/yxwm4eyj. ED “has never relied on



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the HEROES Act or any other statutory, regulatory, or interpretative authority for the blanket or

mass cancellation … of student loan principal balances, and/or the material change of repayment

amounts or terms.” 2021 DeVos Memo, supra, at 6.

       85.     It is evident from ED’s own recent statements that the COVID-19 pandemic is mere

pretext and a post hoc rationalization for the political goal of mass debt cancellation.

                      ED’s Mass Debt Cancellation Harms Plaintiff States

       86.     ED’s Mass Debt Cancellation harms Plaintiff States’ sovereign, quasi-sovereign,

financial, and proprietary interests.

       87.     These harms, which are explained in detail below, are irreparable.

       88.     But for the Mass Debt Cancellation, the harms that are ongoing would not have

occurred, and the harms that are imminent will not occur.

       89.     Immediate injunctive relief is necessary to stop these injuries.

       90.     The balance of the equities favors issuing immediate injunctive relief.

       91.     The public interest supports entering an injunction.

                          Harms to financial and proprietary interests

       92.     The Mass Debt Cancellation harms the States’ financial and proprietary interests.

       93.     The Higher Education Loan Authority of the State of Missouri (MOHELA) is “a

body politic and corporate” that is “a public instrumentality and body corporate” of the State of

Missouri that performs “an essential public function.” Mo. Rev. Stat. § 173.360.

       94.     MOHELA’s purpose is to ensure that all eligible post-secondary education students

in Missouri have access to guaranteed student loans. Since 2010, MOHELA has provided roughly

$100 million in funding for college scholarships in the State of Missouri.




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       95.     MOHELA is authorized to act as a servicer for student loan debt, see Mo. Rev. Stat.

§ 173.385.1(18), and it may use fees and charges from that activity “to pay the costs of the

authority,” § 173.385.1(12).

       96.     MOHELA is a servicer for federally held student debt, including DLP loans, under

contracts with ED. The amount of federally held student debt MOHELA services is substantial.

The entity services roughly $59 billion in federal direct loans representing over 2.7 million

accounts, which are primarily DLP loans.

       97.     MOHELA is also a servicer of FFELP loans.

       98.     MOHELA services loans for borrowers across the nation.

       99.     MOHELA is also a holder of FFELP loans. The entity generates revenue from

those outstanding FFELP loans.

       100.    The borrowers of the FFELP loans that MOHELA holds live across the U.S.

       101.    MOHELA uses the FFELP loans that it holds as security on bond offerings.

       102.    The Mass Debt Cancellation is inflicting a number of ongoing financial harms on

MOHELA.

       103.    As a servicer of DLP loans, MOHELA is enduring injury in the form of compliance

costs by undertaking significant efforts to comply with the unlawful Mass Debt Cancellation.

       104.    The Mass Debt Cancellation has created an enormous incentive to consolidate

FFELP loans not held by ED (which are not currently eligible for cancellation) into DLP loans

(which are eligible for cancellation). The inevitable result is that FFELP loan borrowers will likely

consolidate into DLP loans en masse.

       105.    The consolidation of MOHELA’s FFELP loans harms the entity by depriving it of

an asset (the FFELP loans themselves) that it currently owns.



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       106.    The consolidation of MOHELA’s FFELP loans harms the entity by depriving it of

the ongoing interest payments that those loans generate.

       107.    To the extent MOHELA must invest in other fixed-income assets, see Mo. Rev.

Stat. §173.385.1(13), using funds that were previously invested in student loan debt, it will be

investing in a rising interest rate environment. As a result, any investments it purchases in the near

term will drop in value.

       108.    The widespread consolidation of FFELP loans into DLP loans decreases the

number of FFELP loans on the secondary markets, which—on information and belief—will lower

prices for those loans. The drop in value of those loans harms those who hold them, like

MOHELA.

       109.    The consolidation of MOHELA’s FFELP loans harms the entity by depriving them

of the ongoing revenue it earns from servicing those loans.

       110.    The consolidation of MOHELA’s FFELP loans diminishes its ability to issue bonds

and access debt markets because the entity uses the income it receives from student loans as

security for bond payments.

       111.    The Mass Debt Cancellation will also inflict imminent financial harms on

MOHELA.

       112.    MOHELA faces the imminent loss of revenue in its role as a servicer of DLP loans.

MOHELA’s revenue as a servicer of DLP loans is a function of the number of accounts it services.

So when student loan balances go to zero, as they will en masse under the Mass Debt Cancellation,

MOHELA will lose the revenue from servicing those loans.

       113.    Depriving MOHELA of the FFELP loans it holds will (1) limit its access to debt

markets—by eliminating assets MOHELA may use to secure those bonds, see Mo. Rev. Stat.



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§§ 173.385.1(6), 173.390—or (2) force the entity to issue a bond resolution providing for repay-

ment of the bonds from some other source, see id.

       114.    On information and belief, depriving MOHELA of assets like student loan debt and

limiting MOHELA’s ability to access debt markets limits the entity’s ability to ensure that all

“postsecondary education students” in the State “have access to student loans that are guaranteed

or insured, or both,” and its ability to support the State’s universities. Mo. Rev. Stat. § 173.360.

       115.    The Arkansas Student Loan Authority (ASLA) is a division of the Arkansas

Development Finance Authority. See Ark. Code Ann. 15-5-1902(a)(1). ASLA is “the instru-

mentality of the state charged with a portion of the responsibility of the state to provide educational

opportunities in keeping with all applicable state and federal laws.” Ark. Code Ann. 15-5-

1902(a)(2). As part of that mission, ASLA provides student loans.

       116.    Prior to the Administration’s Mass Debt Cancellation, ASLA held approximately

$100 million dollars in FFELP loans. ASLA financed those loans through the issuance of bonds.

Interest payments received from borrowers are used to satisfy ASLA’s obligations to those

bondholders. ASLA receives a percentage of the outstanding FFELP loan balance each month as

an administrative fee. Revenue from that administrative fee is then used for administrative and

servicing costs.

       117.    Excess revenue (the administrative fee minus administrative and servicing costs) is

used for a number of purposes that further ASLA’s mission. These include: “(1) Making loans;

(2) Purchasing loans and security interests in loan participations as authorized; (3) Paying

incidental expenses in connection with loans; (4) Paying expenses of authorizing and issuing

bonds; (5) Paying interest on bonds until revenues are available in sufficient amounts from the

bonds; and (6) Funding reserves as necessary.” Ark. Code Ann. 15-5-1904(c).



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       118.    The Mass Debt Cancellation is already causing ongoing harm to ASLA’s financial

interests. The FFELP loans currently held by ASLA do not qualify for cancellation under the

program announced by the Administration. However, borrowers may consolidate those loans into

DLP loans.

       119.    ASLA estimates that, since the administration’s announcement of the Mass Debt

Cancellation, approximately $5-6 million of its FFELP loan holdings have been consolidated by

borrowers into DLP loans. If FFELP loans held by ASLA remain outside of the Mass Debt

Cancellation, ASLA expects a continuing and massive reduction in its FFELP loan balance.

Because ASLA’s administrative fee is calculated based on the total outstanding balance of its

FFELP loans, the Mass Debt Cancellation will result in a significant reduction in the revenue

ASLA receives from its FFELP loans.

       120.    If the Administration were to change its program and declare FFELP loans eligible

for cancellation (such as through direct payments to loan holders like ASLA), ASLA estimates

that the vast majority of its borrowers will be eligible for cancellation. If those borrowers were to

receive any such cancellation of their FFELP loans, the revenue ASLA receives through

administering the FFELP loans will reduce significantly. ASLA estimates a reduction of between

$11-16 million, depending on future interest rates, in the expected yield of its FFELP loan

balances.

       121.    The reduction in ASLA revenue caused by the Mass Debt Cancellation will limit

its ability to provide education opportunities to Arkansans through financing further student loans.

       122.    The Nebraska Investment Council (NIC) is responsible for investing various assets

held by the State of Nebraska, including the State’s pension fund.

       123.    NIC has multiple accounts with money invested in student loan asset-backed



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securities (SLABS).

       124.    The Mass Debt Cancellation is inflicting ongoing financial harm on NIC.

       125.    The widespread consolidation of FFELP loans into DLP loans will cause investors

in SLABS to receive money back earlier than anticipated, ending the interest income flow that

SLABS generate.

       126.    On information and belief, this consolidation will likely cut in half the existing

FFELP SLABS market and cause financial injury to NIC. See Carmen Arroyo, Biden’s Student-

Loan Relief Plan Stirs a $100 Billion Plus Debt Market, Bloomberg (Sept. 2, 2022),

https://tinyurl.com/43sc7ec4.

       127.    Furthermore, when the FFELP loans are pre-paid, the SLABS market declines,

which lowers the value of NIC’s investments and harms the State of Nebraska, including

pensioners throughout the State.

       128.    The States of Nebraska, Iowa, Kansas, and South Carolina will also suffer direct

pocketbook harms from the Mass Debt Cancellation.

       129.    To determine an individual’s taxable state income, Nebraska uses the individual’s

federal adjusted gross income as a baseline. See Neb. Rev. Stat. § 77-2714.01(1). The same is

true of Iowa, Kansas, and South Carolina. See Iowa Code § 422.7; Kan. Stat. Ann. § 79-32,117(a);

S.C. Code § 12-6-40; South Carolina Dep’t of Revenue Information Letter 22-14 (Sept. 1, 2022),

https://tinyurl.com/3vzwrva2.

       130.    Normally, federal adjusted gross income includes student loan discharge. See 26

U.S.C. § 61(a)(11). Under the American Rescue Plan Act of 2021, however, the discharge of

student loan debt is not included in federal adjusted gross income if the discharge occurs between

December 31, 2020, and January 1, 2026. See 26 U.S.C. § 108(f )(5). Thus, student loan debt is


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currently not considered taxable state income in Nebraska, Iowa, Kansas, or South Carolina but

will be in the future.

        131.    There will undoubtedly be student loan debt discharge in the future. Under federal

Income-Driven Repayment (IDR), borrowers receive cancellation after repaying the loans for a

certain period of years (20 to 25, depending on the loan). The Government Accountability Office

(GAO) estimates that by 2030, “about 1.5 million loans held by about 600,000 borrowers” will be

eligible for loan cancellation.    U.S. Gov’t Accountability Office, GAO-22-103720, Federal

Student Aid: Education Needs to Take Steps to Ensure Eligible Loans Receive Income-Driven

Repayment Forgiveness 15 (2022), https://tinyurl.com/bdhzca8z. Of those loans, roughly 1.2

million will be forgiven between 2026 and 2030. See id. at 16 fig. 3. And data from 2021 shows

that the average amount of loan cancellation under the program so far has been about “$34,000 per

borrower.” Id. at 10. Thus, significant amounts of federal loan cancellation will occur after

2026—including for residents in Nebraska, Iowa, Kansas, and South Carolina. By operation of

law, then, substantial income tax revenue will be coming to Nebraska.

        132.    The Mass Debt Cancellation, however, will reduce that tax revenue by decreasing

the amount of outstanding student loan debt. As a result, the Mass Debt Cancellation costs

Nebraska, Iowa, Kansas, and South Carolina tax revenue.

                         Harms to sovereign and quasi-sovereign interests

        133.    The Mass Debt Cancellation also harms the States’ sovereign and quasi-sovereign

interests.

        134.    For Missouri, because the Mass Debt Cancellation impairs MOHELA’s ability to

provide student loans to Missouri residents, the Mass Debt Cancellation harms Missouri’s

sovereign and quasi-sovereign interests in ensuring its citizens receive an education, see Mo.


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Const. art. IX, § 9(b) (“The general assembly shall adequately maintain the state university and

such other educational institutions as it may deem necessary.”), and the educational well-being of

its residents.

        135.     Because MOHELA performs “an essential public function,” Mo. Rev. Stat.

§ 173.360, interference with the entity’s performance of its function impairs its ability to perform

an essential public function for the State of Missouri, which impairs the State’s sovereign interest

in allocating its authority and its sovereign and quasi-sovereign interests in the education of its

populace.

        136.     For Nebraska, because student loan cancellation impairs NIC’s ability to provide

returns on investments vital to the State, including the State’s pensioners, the Mass Debt

Cancellation harms Nebraska’s sovereign and quasi-sovereign interests in the financial well-being

of its residents.

        137.     For Nebraska, Iowa, Kansas, and South Carolina, the loss of tax revenue impairs

their sovereign and quasi-sovereign interests in setting tax policy and, more broadly, in creating

and enforcing a legal code. The Mass Debt Cancellation requires Nebraska, Iowa, Kansas, and

South Carolina to either forgo future tax revenue or change its tax code to capture the unlawful

discharge of student loans.

                              Need for Immediate Injunctive Relief

        138.     ED has announced a definitive and detailed Mass Debt Cancellation program, and

it is currently working with student-loan servicers—some of which are state entities such as

MOHELA—to set up the infrastructure for the cancellation. These actions are inflicting ongoing

irreparable harms on Plaintiff States, as detailed above. Immediate relief is needed to stop these

injuries.



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        139.   The Secretary will imminently issue a waiver or modification under the HEROES

Act, and that waiver or modification will exacerbate those injuries and add others.

        140.   ED has instructed its loan servicers to have their “initial discharge capability fully

operational” by October 1, 2022, just days from now, and the agency announced that its

applications for loan cancellation “will be available online by early October 2022,” Cancellation

Program Webpage, supra. It is likely that the waiver or modification will be published around that

time.

        141.   Plaintiff States cannot wait to seek relief until after the Secretary publishes the

waiver or modification. The need to act now is exemplified by ED’s stated plan to “automatically”

cancel loans for the eight million borrowers whose income information the agency already

possesses. See Cancellation Program Webpage, supra. ED appears poised to process these

automatic cancellations as soon as the waiver or modification is published, effectively denying

challengers of its power-grab any chance to obtain injunctive relief before eight million loans are

erased. To prevent this from happening, Plaintiff States must pursue legal recourse now.

                                     CLAIMS FOR RELIEF

                             COUNT ONE - Separation of Powers

        142.   Plaintiffs re-allege and incorporate the allegations in the preceding paragraphs of

this Complaint.

        143.   The Mass Debt Cancellation is a major agency action that could not lawfully be

conducted without proper legal authority.

        144.   The U.S. Constitution creates a federal government of limited and enumerated

powers, and this limitation applies to the Executive Branch.

        145.   Any action of the Executive Branch must come from one of two sources of



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authority: (1) a valid delegation of authority from a statute enacted by Congress, or (2) a direct

exercise of one of the President’s enumerated powers in Article II. “The President’s power, if any,

to issue [an] order must stem either from an act of Congress or from the Constitution itself.”

Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 585 (1952).

       146.    Defendants have not identified a statute that gives them the authority to establish

and implement the Mass Debt Cancellation. Despite Defendants’ reliance on the HEROES Act,

that statute does not provide them any such authority.

       147.    To the extent the HEROES Act permits the Mass Debt Cancellation, that statute is

unconstitutional.

       148.    Accordingly, the Mass Debt Cancellation is an ultra vires action and violates the

separation of powers.

               COUNT TWO – Violation of the Administrative Procedure Act
               Exceeding Statutory Authority and Violating the Constitution

       149.    Plaintiffs re-allege and incorporate the allegations in the preceding paragraphs of

this Complaint.

       150.    ED is a federal agency subject to the requirements of the APA.

       151.    The Mass Debt Cancellation is final agency action for purposes of the APA.

       152.    ED’s August 24, 2022 announcement of the Mass Debt Cancellation is final agency

action. See Calvillo Manriquez v. DeVos, 345 F. Supp. 3d 1077, 1095 (N.D. Cal. 2018) (ED memo

and press release “show[ing] that the Secretary made a final decision about how to evaluate claims

for borrowers” constituted final agency action).

       153.    The Mass Debt Cancellation is a major agency action that could not lawfully be

conducted without compliance with the APA.

       154.    Under the APA, a reviewing court shall “hold unlawful and set aside agency action”

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that is “not in accordance with law,” “contrary to constitutional right, power, privilege, or

immunity,” or “in excess of statutory … authority[,] … limitations, or short of statutory right.” 5

U.S.C. § 706(2)(A)–(C).

       155.    Defendants have not identified a statute that gives them the authority to establish

and implement the Mass Debt Cancellation. Despite Defendants’ reliance on the HEROES Act,

that statute does not provide them any such authority.

       156.    By exceeding their statutory authority, Defendants have also violated the

constitutional separation of powers.

       157.    To the extent the HEROES Act permits the Mass Debt Cancellation, that statute is

unconstitutional.

       158.    Therefore, the Mass Debt Cancellation is in excess of ED’s authority and in

violation of the Constitution.

              COUNT THREE – Violation of the Administrative Procedure Act
                      Arbitrary and Capricious Agency Action

       159.         Plaintiffs re-allege and incorporate the allegations in the preceding paragraphs of

this Complaint.

       160.         ED is a federal agency subject to the requirements of the APA.

       161.         The Mass Debt Cancellation is final agency action for purposes of the APA.

       162.         ED’s August 24, 2022 announcement of the Mass Debt Cancellation is final

agency action. See Calvillo Manriquez, 345 F. Supp. 3d at 1095 (ED memo and press release

“show[ing] that the Secretary made a final decision about how to evaluate claims for borrowers”

constituted final agency action).

       163.         The Mass Debt Cancellation is a major agency action that could not lawfully be

conducted without compliance with the APA.

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       164.       Under the APA, a reviewing court shall “hold unlawful and set aside agency

action, findings, and conclusions found to be … arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A).

       165.       Agency action is arbitrary and capricious if the agency fails to “examine the

relevant data and articulate a satisfactory explanation for its action including a rational connection

between the facts found and the choice made.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State

Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (cleaned up). “Normally, an agency rule would

be arbitrary and capricious if the agency has relied on factors which Congress has not intended it

to consider, entirely failed to consider an important aspect of the problem, offered an explanation

for its decision that runs counter to the evidence before the agency, or is so implausible that it could

not be ascribed to a difference in view or the product of agency expertise.” Id.

       166.       The Mass Debt Cancellation’s reliance on the HEROES Act is not the product of

reasoned decision-making. ED had already addressed the potential impact of the COVID-19

pandemic on student loans by pausing loan payments and zeroing interest accrual. Given that, the

agency has not explained why the Mass Debt Cancellation is also needed.

       167.       The Mass Debt Cancellation is arbitrary and capricious because ED relied on

factors that Congress has not intended it to consider under the HEROES Act.                   A senior

administration official explained that ED’s Mass Debt Cancellation intended to “narrow the racial

wealth gap,” “promot[e] equity,” allow more Americans to obtain “a ticket to a middle-class life”

through “post-high school education,” and address education costs that have been rising “[o]ver

the last 40 years.” Cancellation Backgrounder, supra. None of these are factors that Congress

intended the Secretary to consider under the HEROES Act.

       168.       The Mass Debt Cancellation is also arbitrary and capricious because ED’s


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reliance on the pandemic is disingenuous—a mere pretext and post hoc rationalization. Shortly

before announcing the Mass Debt Cancellation, the Administration had argued in court that the

pandemic’s impact was now relatively modest. And soon after announcing the Mass Debt

Cancellation, President Biden admitted that the pandemic is over. Defendants’ reliance on the

COVID-19 is plainly and simply a pretext, not the reasoned decision-making required by the APA.

       169.        The exceedingly broad scope of the Mass Debt Cancellation illustrates its

arbitrariness. Betraying its unjustifiably vast scope, the Cancellation is not confined to people who

are in “a worse position financially,” 20 U.S.C. §1098bb(a)(2)(A), or those whose student loans

have been adversely affected by the COVID-19 pandemic.

       170.        ED failed to address the States’ reliance interests, including, but not limited to,

States’ reliance on stability and volume in the existing FFELP loan market, States’ reliance on

their income tax structures, and States’ reliance in setting up systems to engage in the student loan

market, including by providing loans to States’ residents for their postsecondary education.

       171.        For all these reasons and more, the Mass Debt Cancellation is arbitrary,

capricious, an abuse of discretion, and otherwise not in accordance with law and must be set aside.

                                      PRAYER FOR RELIEF

       Plaintiffs respectfully ask this Court to:

       a.          issue an order and judgment declaring that the Mass Debt Cancellation violates

the separation of powers established by the U.S. Constitution;

       b.          issue an order and judgment declaring that the Mass Debt Cancellation violates

the APA because it is in excess of statutory authority, is arbitrary, capricious, an abuse of

discretion, and otherwise not in accordance with law, and is without observance of procedure

required by law;


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       c.       temporarily restrain and preliminarily and permanently enjoin implementation

and enforcement of the Mass Debt Cancellation;

       d.       temporarily restrain and preliminarily and permanently enjoin the Secretary

from publishing the Mass Debt Cancellation’s waiver or modification under the HEROES Act;

       e.       set aside the Mass Debt Cancellation;

       f.       award Plaintiffs costs and reasonable attorneys’ fees, as appropriate; and

       g.       grant any other relief the Court deems just and appropriate.




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Dated: September 29, 2022                      Respectfully submitted,

DOUGLAS J. PETERSON                            ERIC S. SCHMITT
Attorney General of Nebraska                   Attorney General of Missouri
/s/ James A. Campbell                          /s/ Michael E. Talent
James A. Campbell                              Michael E. Talent, #73339MO
  Solicitor General of Nebraska                  Deputy Solicitor General of Missouri
Office of the Nebraska Attorney General        Missouri Attorney General’s Office
2115 State Capitol                             Post Office Box 899
Lincoln, NE 68509                              Jefferson City, MO 65102
(402) 471-2686                                 (314) 340-4869
Jim.Campbell@nebraska.gov                      Michael.Talent@ago.mo.gov
Counsel for Plaintiffs                         Counsel for Plaintiffs

LESLIE RUTLEDGE                                JEFFREY S. THOMPSON
Attorney General of Arkansas                   Solicitor General of Iowa

/s/ Dylan L. Jacobs                            /s/ Samuel P. Langholz
Nicholas J. Bronni                             Samuel P. Langholz
  Solicitor General of Arkansas                  Assistant Solicitor General
Dylan L. Jacobs                                Office of the Iowa Attorney General
  Deputy Solicitor General of Arkansas         1305 E. Walnut Street
Office of the Arkansas Attorney General        Des Moines, Iowa 50319
323 Center Street, Suite 200                   (515) 281-5164
Little Rock, AR 72201                          jeffrey.thompson@ag.iowa.gov
(501) 682-2007                                 sam.langholz@ag.iowa.gov
Dylan.Jacobs@arkansasag.gov
                                               Counsel for State of Iowa
Counsel for State of Arkansas
                                               ALAN WILSON
DEREK SCHMIDT
                                               Attorney General of South Carolina
Attorney General of Kansas
                                               /s/ J. Emory Smith, Jr.
/s/ Shannon Grammel
                                               J. Emory Smith, Jr.
Shannon Grammel
                                                 Deputy Solicitor General
  Deputy Solicitor General
                                               Office of the Attorney General of South
Office of the Kansas Attorney General
                                               Carolina
120 SW 10th Avenue, 2nd Floor
                                               P.O. Box 11549
Topeka, Kansas 66612
                                               Columbia, SC 29211
(785) 296-2215
                                               803-734-3680
shannon.grammel@ag.ks.gov
                                               ESmith@scag.gov
Counsel for State of Kansas
                                               Counsel for State of South Carolina




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